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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

____________________________________
                                            )
ALI SALEH KAHLAH AL-MARRI                   )
                                            )
               Plaintiff,                   )
                                            )
       v.                                   )         Civil A. No. 2:05-cv-02259-HFF-RSC
                                            )
ROBERT M. GATES,                            )
 Secretary of Defense of the United States, )
COMMANDER JOHN PUCCIARRELLI, )
 U.S.N. Commander,                          )
 Naval Consolidated Brig,                   )
                                            )
               Defendants.                  )
                                            )

                      Defendants’ Request for Extension to File Response
                     Pursuant to Local Rule 7.06 to Plaintiff’s Motion for
                     Interim Relief Related to Conditions of Confinement
                                              and
                          Incorporated Local Rule 7.02 Certification

       Respondents hereby respectfully request an extension of time of fourteen days, until

April 14, 2008, in which to file a response to plaintiff’s Motion For Interim Relief from

Prolonged Isolation and Other Unlawful Conditions of Confinement (dkt. no. 40), and state as

follows:

       1.      Plaintiff’s motion was filed electronically on March 13, 2008. Pursuant to Local

Civil Rule 7.06 and FED. R. CIV. P. 6, defendant’s response is currently due March 31, 2008.

       2.      Defendants respectfully request an extension of time of fourteen days, until April

14, 2008, in which to file their response. An extension of time is warranted to permit defendants

sufficient time to respond to the arguments raised in plaintiff’s motion.
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       3.      Pursuant to Local Civil Rule 7.02, counsel for defendants has consulted with

counsel for plaintiff, who does not oppose the requested extension of time.



Dated: March 25, 2008                        Respectfully submitted,

                                             JEFFREY S. BUCHOLTZ
                                             Acting Assistant Attorney General

                                             KEVIN F. MCDONALD
                                             Acting United States Attorney

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